Case 1:25-cv-00300-AJT-LRV          Document 22           Filed 02/26/25    Page 1 of 2 PageID# 253




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

  JOHN DOE 1, et al.,                           )
                                                )
                 Plaintiffs,                    )
                                                )
  v.                                            )
                                                )       Civil Action No. 1:25-cv-300 (AJT/LRV)
  U.S. OFFICE OF THE DIRECTOR                   )
  OF NATIONAL INTELLIGENCE, et al.,             )
                                                )
                 Defendants.                    )
                                                )



                                              ORDER

         Before the Court is Plaintiffs’ Motion for a Temporary Restraining Order, [Doc. No. 6]

  (the “Motion”), the memoranda in support thereof, [Doc. Nos. 7, 15, 20], and in opposition

  thereto, [Doc. Nos. 14, 19]. The Court held a hearing on the Motion on February 18, 2025, and

  again on February 24, 2025, at which time, the Court ordered supplemental briefing on specific

  issues and continued the hearing to Thursday, February 27, 2025. The Court received additional

  briefing as directed and, in their supplemental briefing, Plaintiffs state that “[e]very single one

  of the Plaintiffs in this case has had at least one currently vacant, suitable and career service-

  appropriate position identified for them by their career service. Most Plaintiffs received offers

  of several such positions from their career service; one Plaintiff received as many as seven,”

  [Doc. No. 20] at 13, upon consideration of which, the Court hereby

         DIRECTS the Defendants to be prepared to advise the Court, on February 27, 2025, as

  to the (i) accuracy of Plaintiffs’ statements, excerpted above, and (ii) whether there is anything




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Case 1:25-cv-00300-AJT-LRV          Document 22           Filed 02/26/25   Page 2 of 2 PageID# 254




  in Defendants’ position or actions that would preclude Plaintiffs from receiving or accepting

  those offers in light of their proposed terminations.

        The Clerk is directed to forward copies of this Order to all counsel of record.


 Alexandria, Virginia
 February 26, 2025




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